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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


SHEILA THOMPSON and DENNIS
THOMPSON,

                Plaintiffs,
                                                              Case No:4:23-cv-00042
                                                               Jury Trial Demanded
        v.

VINTAGE STOCK, INC.,

                Defendant.


                                     NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that Defendant Vintage Stock, Inc. (“Defendant”), by and

through its undersigned counsel, and pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, hereby

removes the above-entitled action, which is currently pending in the 21st Judicial Circuit Court of

St. Louis County, Missouri. As grounds for removing this action, Defendant states:

I.      Procedural Background

        1.      On or about December 4, 2022, Plaintiffs Sheila Thompson and Dennis Thompson

(collectively, “Plaintiffs”) filed a Class-Action Petition (the “Petition”) initiating the action entitled

Sheila Thompson, et al. v. Vintage Stock, Inc., Case No. 22SL-CC05109, in the 21st Judicial

Circuit Court of St. Louis County, Missouri, against Defendant. Pursuant to Local Rule 2.03,

attached as Exhibit A is a true and correct copy of the state court file and docket sheet.

        2.      The Petition alleges that Defendant violated the Telephone Consumer Protection

Act, 47 U.S.C. § 227 (“TCPA”) and related Missouri state law by sending purportedly unsolicited

text messages to Plaintiffs’ cell phones.
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          3.    Through the Petition, Plaintiffs seek to represent a class of persons who allegedly

also received the same unsolicited text messages.

          4.    On December 7, 2022, Plaintiffs caused a Summons in Civil Case to be issued by

the court clerk for the 21st Judicial Circuit Court, St. Louis County, Missouri directed to Defendant

(the “Summons”).

          5.     On December 13, 2022, Plaintiffs caused copies of the Summons and Petition to

be served on Defendant’s registered agent located in Joplin, Missouri.

II.       Timeliness of Removal

          6.    This removal is timely under 28 U.S.C. § 1446(b) in that it has been filed within

thirty days after Defendant’s receipt of service of the Summons and Petition, which was on

December 13, 2022.

III.      Removal Jurisdiction

          7.    Federal district courts have “original jurisdiction of all civil actions arising under

the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

          8.    Federal district courts have original jurisdiction over TCPA claims, such as those

asserted by Plaintiffs in the Petition. See, e.g., Mims v. Arrow Financial Servs., LLC, 132 S.Ct.

740, 753 (2012) (“Nothing in the text, structure, purpose, or legislative history of the TCPA calls

for displacement of the federal-question jurisdiction U.S. district courts ordinarily have under 28

U.S.C. § 1331.”).

          9.    Where federal question jurisdiction exists over any one of the claims in a removed

action, the Court possesses federal jurisdiction over the entire action so long as the accompanying

state law claims “form part of the same case or controversy[.]” See 28 U.S.C. § 1367(a) (providing

that a district court with original jurisdiction over a claim “shall have supplemental jurisdiction




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over all other claims . . . form[ing] part of the same case or controversy”); City of Chicago v. Int’l

College of Surgeons, 522 U.S. 156, 165 (U.S. 1997) (“[O]nce the case was removed, the District

Court had original jurisdiction over ICS’ claims arising under federal law, and thus could exercise

supplemental jurisdiction over the accompanying state law claims so long as those claims

constitute other claims that . . . form part of the same case or controversy.”) (quotation omitted).

       10.     Claims are part of the same case or controversy if they “derive from a common

nucleus of operative fact.” Myers v. Richland County, 429 F.3d 740, 746 (8th Cir. 2005) (quoting

City of Chicago, 522 U.S. at 165). “A plaintiff’s claims derive from a common nucleus of operative

fact if the claims are such that [the plaintiff] would ordinarily be expected to try them all in one

judicial proceeding.” OnePoint Solutions, LLC v. Borchert, 486 F.3d 342, 350 (8th Cir. 2007)

(quotation omitted).

       11.     All of Plaintiffs’ claims against Defendant, including the alternative TCPA claims

and the substantially similar Missouri No Call List violation claims, arise from the same set of

facts—namely, Defendant’s alleged unsolicited text messages to Plaintiffs—and would ordinarily

be expected to be tried together. See id. Accordingly, this Court has jurisdiction over Plaintiffs’

state law claim pursuant to 28 U.S.C. § 1367(a).

       12.     Removal to this Court is proper pursuant to 28 U.S.C. § 1446(a) because the United

States District Court for the Eastern District of Missouri is the district in which the state court

action was filed.

       13.     The United States District Court for the Eastern District of Missouri embraces the

county in which the state court action was filed. Venue is therefore proper pursuant to 28 U.S.C.

§ 1441(a).




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IV.      Notice to State Court and Plaintiffs

         14.    Pursuant to 28 U.S.C. § 1446(d) and Local Rule 2.03, Defendant is promptly

providing written notice of this removal to Plaintiff and will file a copy of this Notice of Removal

with the Clerk of the 21st Judicial Circuit Court of St. Louis County, Missouri.

V.       Non-Waiver of Defenses

         15.    By this Notice of Removal, Defendant does not waive any defenses that may be

available, including, without limitation, Plaintiffs’ failure to state a claim or any other defense. See

McDowell v. Tankinetics, Inc., No. 11-3306-CV-S-RED, 2012 WL 828509, at *4 (W.D. Mo. Mar.

8, 2012), aff'd, 507 F. App'x 624 (8th Cir. 2013) (“[R]equiring a defendant to include all potential

defenses in a notice of removal or considering defenses not included to be waived would appear

to run counter to Rule 12.”); see also Nationwide Engineering & Control Systems, Inc. v. Thomas,

837 F.2d 345, 348 (8th Cir. 1988) (“Upon removal, a defendant may assert any defense that would

have been available to him in state court . . . .”).

         16.    By this Notice of Removal, Defendant does not admit any of the allegations in

Plaintiffs’ Petition.

VI.      Procedural Requirements

         15.    A copy of the Original Filing Form is attached as Exhibit B.

         16.    A copy of the Civil Cover Sheet is attached as Exhibit C.

         17.    Pursuant to Local Rule 2.09, a Disclosure of Organizational Interests is filed

contemporaneously herewith.

         18.    The necessary filing fees have been paid simultaneously with this Notice of

Removal.




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        19.     Defendant has given the undersigned attorneys authority to sign and file this Notice

of Removal.

        20.     If any questions arise regarding the propriety of removal of this action, Defendant

respectfully requests the opportunity to present a brief and/or oral argument in support of its

position that this case is removable.

VII.    Conclusion

        21.     For all the foregoing reasons, removal is proper and this Court has original

jurisdiction over this case.

        WHEREFORE, Defendant respectfully requests that the above-entitled action be

removed from the 21st Judicial Circuit Court of St. Louis County, Missouri, to the United States

District Court for the Eastern District of Missouri, that this this Court exercise its subject matter

jurisdiction over this action, that all further proceedings be held before this Court, and for such

other relief as the Court may deem just and proper.




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                                              Respectfully submitted,

                                              THOMPSON COBURN LLP

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                                                 Attorneys for Defendant Vintage Stock, Inc.

                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 11th day of January, 2023, I electronically filed the foregoing
Notice of Removal with the Clerk of the Court using the CM/ECF system, and have served via
electronic mail and U.S. mail, first class, postage prepaid, the Notice of Removal to the following:


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       Attorney for Plaintiffs




                                              /s/ Matthew D. Guletz




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